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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



JANETTE HERNANDEZ PAGAN, PPA   )
F.H., a minor                  )
        Plaintiff,             )
                               )
            v.                 )                             Civil Action No. 3:17-30031-MGM
                               )
CITY OF HOLYOKE, A MUNICIPAL   )
CORPORATION, OFFICER THOMAS J. )
LEAHY, OFFICER JAMES DUNN,     )
OFFICER JABET LOPEZ,           )
                               )
      Defendants.              )



                           SETTLEMENT ORDER OF DISMISSAL

MASTROIANNI, U.S.D.J.

       The court, having been advised on October 15, 2019, that the above-entitled action has

been settled;

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right of any party, upon good cause shown, to reopen the action within thirty (30) days if

settlement is not consummated.



                                                     By the Court,



                                                      /s/ Timothy J. Bartlett
                                                     Timothy J. Bartlett
                                                     Deputy Clerk
